Case 1:12-cr-00563-JGK Document 16 “ORIG! NAI 1of8s

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA SEALED INDICTMENT
-v.- S112 cr.5¢34(  )
NOORUDDIN DASHTI,
Defendant.
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COUNT ONE

The Grand Jury charges:

1. From at least in or about 2009, up through and
including in or about February 2012, in the Southern District of
New York and elsewhere, NOORUDDIN DASHTI, the defendant, and
others known and unknown, willfully, and knowingly did combine,
conspire, confederate, and agree together and with each other to
violate Title 18, United States Code, Section 1029(a) (5).

2. It was a part and an object of said conspiracy
that NOORUDDIN DASHTI, the defendant, and others known and
unknown, willfully, and knowingly, and with intent to defraud, in
an offense affecting interstate and foreign commerce, would and
dia effect transactions, with one and more access devices issued
to another person and persons, to receive payment and other
things of value during a one-year period, the aggregate value of
which was equal to and greater than $1,000, in violation of Title

18, United States Code, Section 1029(a) (5).
Case 1:12-cr-00563-JGK Document16 - Filed 08/30/12 Page 2of8

OVERT ACTS

3. In furtherance of the conspiracy, and to effect
the illegal object thereof, the following overt acts, among
others, were committed in the Southern District of New York and
elsewhere:

a. On or about September 19, 2011, NOORUDDIN
DASHTI, the defendant, met with a co-conspirator not charged
herein as a defendant ("CC-1") and conducted a fraudulent credit
card charge in the amount of $3,965.30 using a credit card under
the control of the Federal Bureau of Investigation (“FBI”) ona
credit card terminal at DASHTI’s jewelry store.

b. On or about September 20, 2011, NOORUDDIN
DASHTI, the defendant, met with CC-1 and conducted fraudulent
credit card transactions in the amounts of $4,340.10 and
$2,480.60 using two credit cards under the control of the FBI on
a credit card terminal at DASHTI’s jewelry store.

Cc. On or about September 23, 2011, CC-1, who was
in New York, New York, called NOORUDDIN DASHTI, the defendant, on
the telephone to discuss DASHTI conducting a fraudulent credit
card transaction with one of the credit cards CC-1 provided to
DASHTI.

a. On or about September 23, 2011, NOORUDDIN
DASHTI, the defendant, met with CC-1 and conducted a fraudulent

credit card transaction in the amount of $4,980.50 using a credit
Case 1:12-cr-00563-JGK Document16 - Filed 08/30/12 Page 3of8

card under the control of the FBI on a credit card terminal at
DASHTI’s jewelry store.
(Title 18, United States Code, Section 1029(b) (2).)
COUNT TWO

The Grand Jury further charges:

4. From at least in or about 2009, up through and
including in or about February 2012, in the Southern District of
New York and elsewhere, NOORUDDIN DASHTI, the defendant, and
others known and unknown, willfully, and knowingly did combine,
conspire, confederate, and agree together and with each other, to
commit bank fraud, in violation of Title 18, United States Code,
Section 1344.

5. It was a part and an object of the conspiracy that
NOORUDDIN DASHTI, the defendant, and others known and unknown,
willfully, and knowingly would and did execute and attempt to
execute a scheme and artifice to defraud a financial institution,
the deposits of which were then insured by the Federal Deposit
Insurance Corporation, and to obtain the moneys, funds, credits,
assets, securities, and other property owned by, and under the
custody and control of, such a financial institution, by means of
false and fraudulent pretenses, representations, and promises, in
violation of Title 18, United States Code, Section 1344.

OVERT ACTS

6. In furtherance of the conspiracy, and to effect
Case 1:12-cr-00563-JGK Document16 - Filed 08/30/12 Page4of8

the illegal object thereof, the following overt acts, among
others, were committed in the Southern District of New York and
elsewhere:

a. On or about September 20, 2011, NOORUDDIN
DASHTI, the defendant, met with CC-1 to conduct fraudulent credit
card transactions with two Chase credit cards ending in “9305”
and “9628” under the control of the FBI on a credit card terminal
at DASHTI’s jewelry store.

b. On or about September 23, 2011, CC-1, who was
in New York, New York, called NOORUDDIN DASHTI, the defendant, on
the telephone to discuss DASHTI conducting a fraudulent credit
card transaction with one of the credit cards CC-1 provided to
DASHTI.

Cc. On or about September 23, 2011, NOORUDDIN
DASHTI, the defendant, met with CC-1 and conducted a fraudulent
credit card transaction using a Chase credit card ending in
“9248" under the control of the FBI on a credit card terminal at
DASHTI’s jewelry store.

(Title 18, United States Code, Section 1349.)

FIRST FORFEITURE ALLEGATION

7. As a result of committing the offense alleged in
Count One of this Indictment, NOORUDDIN DASHTI, the defendant,
shall forfeit to the United States, pursuant to 18 U.S.C. §

982(a) (2) (B), any and all property constituting, or derived from,
Case 1:12-cr-00563-JGK Document16 Filed 08/30/12 Page5of8

proceeds obtained directly or indirectly as a result of the
offense, including but not limited to a sum of United States
currency representing the amount of proceeds obtained as a result
of the offense, and, pursuant to 18 U.S.C. § 1029(c) (1) (C), any
personal property used or intended to be used to commit the
offense charged in Count One of this Indictment.

Substitute Asset Provision

8. If any of the above-described forfeitable

property, as a result of any act or omission of the defendant:

(1) cannot be located upon the exercise of due

diligence;

(2) has been transferred or sold to, or deposited

with, a third person;

(3) has been placed beyond the jurisdiction of the

Court;

(4) has been substantially diminished in value; or

(5) has been commingled with other property which

cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to 18 U.S.C. §
982(b) and 21 U.S.C. § 853(p), to seek forfeiture of any other
property of the defendant up to the value of the above
forfeitable property.

(Title 18, United States Code, Sections 982 and 1029;
Title 21, United States Code, Section 853.)
Case 1:12-cr-00563-JGK Documenti16 - Filed 08/30/12 Page6of8

SECOND FORFEITURE ALLEGATION

9. As a result of committing of the offense alleged
in Count Two of this Indictment, NOORUDDIN DASHTI, the defendant,
shall forfeit to the United States, pursuant to 18 U.S.C. §
982(a) (2) (A), any and all property constituting, or derived from,
proceeds obtained directly or indirectly as a result of the
offense, including but not limited to a sum of United States
currency representing the amount of proceeds obtained as a result
of the offense.

Substitute Asset Provision

10. If any of the above-described forfeitable

property, as a result of any act or omission of the defendant:

(1) cannot be located upon the exercise of due

diligence;

(2) has been transferred or sold to, or deposited

with, a third person;

(3) has been placed beyond the jurisdiction of the

Court;

(4) has been substantially diminished in value; or

(5) has been commingled with other property which

cannot be subdivided without difficulty;
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Case 1:12-cr-00563-JGK Documenti16 Filed 08/30/12 Page /7of8

it is the intent of the United States, pursuant to 18 U.S.C. §
982(b) and 21 U.S.C. § 853(p), to seek forfeiture of any other
property of the defendant up to the value of the above

forfeitable property.

(Title 18, United States Code, Sections 982 and 1349;
Title 21, United States Code, Section 853.)

7? J.

_ POREPERSON A PREET BHARARA

a,

J United States Attorney

Case 1:12-cr-00563-JGK Document16 - Filed 08/30/12 Page 8of8

Form No. USA-33s-274 (Ed. 9-25-58)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

- Vv ~
NOORUDDIN DASHTI

Defendant.

INDICTMENT

S112 Cr.

(Title 18 United States Code,
Sections 1029(b) (2), 1349, 1028(f£)).

PREET BHARARA
United States Attorney.

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